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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MARY R. REYNOLDS,                                   )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )      Case No. 5:18-CV-00099-XR
                                                    )
MEDICREDIT, INC.,                                   )
                                                    )
       Defendant.                                   )

        DEFENDANT MEDICREDIT, INC.’S MOTION FOR ATTORNEY FEES

       Defendant Medicredit, Inc. (“Medicredit”), through counsel, files the following Motion

for Attorney Fees:

       I.         Preliminary Statement

       Plaintiff’s claims in this case were “completely without hope of success” from the date

she filed suit.     Plaintiff’s original claims premised on unlawful phone calls were factually

meritless. And Plaintiff’s amended claims premised on the supposedly deceptive, misleading, or

unfair nature of the two written notices were also meritless.       As this Court held, only a

“idiosyncratic or bizarre” reading of the two notices could lead the reader to believe they are

deceptive, misleading, or unfair. As such, this Court should award Medicredit its attorney fees

pursuant to 15 U.S.C. § 1692k(a)(3).

       II.        Background

       Plaintiff filed this lawsuit on January 31, 2018. See Doc. 1. In her Complaint, Plaintiff

asserted three claims: (1) alleged violations of the FDCPA; (2) alleged violations of the TCPA;

and (3) alleged violations of the Texas Debt Collection Act (“TDCA”). See Doc. 1 at pp. 4–9.

Plaintiff based each of those claims on allegations that Medicredit placed telephone calls to her
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after she revoked the prior express written consent to be called by means of an automatic

telephone dialing system (“ATDS”) and/or pre-recorded voice. See Doc. 1 ¶¶ 16–49.

       After Medicredit answered the Complaint, Medicredit demanded that Plaintiff dismiss

her claims with prejudice as they lacked factual merit. See Correspondence dated April 11,

2018, attached as Exhibit A. Counsel for Medicredit offered to voluntarily produce documents

proving that Plaintiff provided prior express written consent to be called by an ATDS and/or pre-

recorded voice and that Medicredit ceased calling Plaintiff after she orally revoked that consent

on January 9, 2018. See Exhibit A. Plaintiff’s counsel, however, declined that offer and served

written discovery requests on Medicredit. See Exhibit A. Thereafter, Medicredit responded to

Plaintiff’s written discovery requests.   See Medicredit’s responses to Plaintiff’s discovery

requests attached as Exhibit B. With its responses, Medicredit produce documents showing that

Plaintiff provided her prior express written consent and that Medicredit stopped calling Plaintiff

after January 9, 2018. See Conditions of Admission and Consent for Outpatient Care signed

March 26, 2017, attached as Exhibit C, at ¶ 13; Conditions of Admission and Consent for

Outpatient Care signed August 6, 2017, attached as Exhibit D, at ¶ 13; and Call history attached

as Exhibit E.

       Plaintiff then moved to amend her Complaint. See Doc. 18. In that motion, Plaintiff,

apparently realizing that her original claims lacked merit, sought to dismiss her original claims

premised on unlawful telephone calls. See Doc. 18 at ¶ 6. The amended claims she sought to

add were for alleged violations of the FDCPA. See Doc. 18. In particular, in her Amended

Complaint, Plaintiff claimed that two written notices Medicredit sent her were deceptive,

misleading, and unfair. See Doc. 19 at ¶¶ 19–30.




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       After the parties completed discovery, Medicredit moved for summary judgment on

Plaintiff’s amended claims. See Doc. 28. Once that motion was fully briefed, the Court granted

summary judgment in Medicredit’s favor. See Doc. 32.

       III.    Argument

               A. Legal Standard

       The FDCPA provides that this Court may award Medicredit its reasonable attorney’s fees

on “a finding…that [this] action…was brought in bad faith and for the purpose of harassment.”

15 U.S.C. § 1692k(a)(3). The Fifth Circuit has not had occasion to rule on this provision, but

other courts in this Circuit has explained that the “terms ‘bad faith’ and ‘harassment’ indicate

‘more than simply bad judgment or negligence’ and imply ‘the conscious doing of a wrong

because of a dishonest purpose or moral obliquity.’” Tejero v. Portfolio Recovery Assocs., LLC,

2018 WL 1612856 , at *2 (W.D. Tex. Apr. 2, 2018) (citing several cases). As the Northern

District of Texas has explained, a “bad-faith lawsuit is one ‘where the suit is so completely

without hope of succeeding that the court can infer that the plaintiff brought the suit to

harass...rather than to obtain a favorable judgment.” Cunningham v. Credit Management, L.P.,

2010 WL 3791049, at *2 (N.D. Tex. Sept. 27, 2010) (citing Grant v. Barro, 2007 WL 3244986,

at *1 (M.D. La. Nov. 1, 2007)).

               B. Plaintiff brought this suit for the purpose of harassment and in bad faith
                  because it was completely without hope of succeeding from the start.

       From the inception of this case, it was completely without hope of succeeding. Plaintiff

initially brought this case alleging violations of the FDCPA, TCPA, and Texas Debt Collection

Act (“TDCA”). See Doc. 1. The factual allegations underlying all three of those claims were

that Medicredit called Plaintiff after she had revoked her prior express written consent. See Doc.

1 at ¶¶ 16–49. Medicredit, however, informed Plaintiff that her original claims lacked merit as

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she had consented to telephone calls from Medicredit and Medicredit did not call Plaintiff after

January 9, 2018, when Plaintiff revoked that consent. See correspondence dated April 11, 2018,

attached as Exhibit A. After Medicredit responded to Plaintiff’s discovery requests, Plaintiff

dismissed her initial FDCPA, TCPA, and TDCA claims and amended her Complaint to include

only a claim under the FDCPA based on her allegations that the two Notices Medicredit sent her

were misleading or confusing. See Doc. 18. That is, Plaintiff must have concurred that her

original FDCPA, TCPA, and TDCA claims were factually meritless; indeed, Plaintiff did

provide her prior express written consent to receive telephone calls, including by an ATDS or

pre-recorded voice and Medicredit ceased contacting Plaintiff after she revoked that consent.

See Conditions of Admission and Consent for Outpatient Care signed March 26, 2017, attached

as Exhibit C, at ¶ 13; Conditions of Admission and Consent for Outpatient Care signed August

6, 2017, attached as Exhibit D, at ¶ 13; and Call history attached as Exhibit E. So, from the

date Plaintiff filed suit, her claims were meritless and that “completely without hope of

succeeding” from that date.

        And Plaintiff’s case remained “completely without hope of succeeding” even after she

amended her Complaint. As this Court recognized when it granted Medicredit’s Motion for

Summary Judgment, Plaintiff’s sole causes of action in her Amended Complaint were focused on

the alleged misleading, deceptive, or confusing nature of the two written notices that Medicredit

sent Plaintiff. See Doc. 32 at pp. 2–4. Medicredit moved for summary judgment argument that,

as a matter of law, those written notices did not violate the FDCPA as they did not fall below the

“least sophisticated consumer” or “unsophisticated consumer” standards. See Doc. 32 at p. 4.

This Court agreed and granted Medicredit’s Motion for Summary Judgment. See Doc. 32 at pp.

8–12.


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       In granting Medicredit’s Motion for Attorney Fees, this Court recognized that whether a

written communication from a debt collector violates the FDCPA is ordinarily a fact question,

but that such a question may be resolved on summary judgment if “reasonable minds” could not

differ as to whether a letter is deceptive, misleading, or unfair. See Doc. 32 at p. 7. This Court

ultimately concluded that “reasonable minds” could not differ in this case and held that the two

written notices at issue here could “deceive or mislead only under a ‘bizarre or idiosyncratic’

reading.” See Doc. 32 at p. 9. Because this Court found Plaintiff’s claim to be based on a

“bizarre of idiosyncratic” reading of the two written notices and disposed of it on summary

judgment when claims like hers would ordinarily be fact questions, her amended claims were

“completely without hope of succeeding.”

       Further showing that her amended claims was “completely without hope of succeeding”,

in responding to Medicredit’s Motion for Summary Judgment, Plaintiff’s argument relied heavily

on her supposed subjective confusion. As this Court held, however, the “least sophisticated

consumer” and “unsophisticated consumer” standards are objective, and a plaintiff’s “mere claim

of confusion is not enough to withstand a motion for summary judgment. Rather, a plaintiff

must demonstrate the letter’s language unacceptably increases the level of confusion.” See Doc.

32 at p. 10. Plaintiff, however, relied almost exclusively on her own subjective confusion, which

was plainly insufficient to withstand Medicredit’s Motion for Summary Judgment.

       Perhaps most tellingly, Plaintiff’s claims of subjective confusion were also not genuine.

As Medicredit pointed out in its Reply in Support of its Motion for Summary Judgment, Plaintiff

did not receive the second written notice until Medicredit produced it in discovery in this case.

See Doc. 31 at pp. 2–3 (¶¶ 2–5); and Doc. 31-3 at ¶¶ 3–4. That is, Plaintiff received the second

written notice, which formed the majority of the basis for her amended claims, after she had


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retained counsel.       So, even if her subjective confusion had been relevant to this Court’s

determination of Medicredit’s Motion for Summary Judgment, it lacked factual merit. As such,

Plaintiff’s amended claims, like her original claims, were “completely without hope of

succeeding.”

         This Court, therefore, should grant Medicredit’s Motion for Attorney Fees.1

         IV.      Conclusion

         This Court should award Medicredit its attorney fees pursuant to 15 U.S.C. § 1692k(a)(3)

because it can infer her intent to harass and bad faith as her claims were “completely without

hope of succeeding.” The claims Plaintiff asserted in her original Complaint were factually

meritless because she provided her prior express written consent to being called using an ATDS

and/or prerecorded voice and Medicredit indisputably did not call Plaintiff after she orally

revoked that consent. And the claims in Plaintiff’s Amended Complaint were likewise without

merit as her claim of a deceptive, misleading, or unfair written communication were based on an

“idiosyncratic or bizarre” reading of the two written notices at issue in this case. Therefore, this

Court should grant Medicredit’s Motion for Attorney Fees.

         WHEREFORE Defendant Medicredit, Inc., requests this Court grant its Motion for

Attorney Fees, award it its attorney fees in an amount to be submitted, and for any additional

relief this Court deems appropriate under the circumstances.

         Respectfully submit this 15th day of February, 2019.

                                                      Respectfully submitted,

                                                      By: s/ Jacob F. Hollars
                                                      Jacob F. Hollars (admitted pro hac vice)
                                                        Colorado Bar No. 50352
                                                      jhollars@spencerfane.com

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 In the event this Court grants Medicredit’s Motion for Attorney Fees, it will submit itemized billing records for the
amounts it seeks.
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                              CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above pleading was filed and served via the Court’s
CM/ECF system and served by email on all counsel of record, this 15th day of February, 2019.


                                                               s/ Jacob F. Hollars
                                                               Jacob F. Hollars




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